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               EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
                                               :
  LISA BARBOUNIS,                              :
                                               :   CIVIL ACTION
                 Plaintiff,                    :   NO. 2:19-cv-05030-JDW
                                               :
                 v.                            :
                                               :   OPPOSITION TO DEFENDANTS’
                                               :   MOTION FOR SUMMAY JUDGMENT
  THE MIDDLE EAST FORUM, GREG                  :
  ROMAN, AND DANIEL PIPES,                     :
                                               :
                 Defendants.                   :
                                               :


                  DECLARATION OF LISA REYNOLDS-BARBOUNIS


       I Lisa Reynolds-Barbounis who resides at 1820 Kilbourne Place, Northwest, Washington

D.C. 20010, in the United States of America do hereby make OATH and say at follows:


1. My name is Lisa Reynolds-Barbounis.

2. Today is April 17, 2021.

3. I began my employment for Defendants, The Middle East Forum sometime around October

   2017, and continued my employment until my involuntary resignation around August 2019.

4. My resignation was void of free will. I left because the work environment was so intolerable

   that any reasonable person in my position would have resigned.

5. From October 2017 until November 5, 2018, my title was Executive Liaison.

6. I was Defendant, Greg Roman’s personal assistant.

7. I managed Roman’s schedule and performed research projects.
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8. In November 2018, Roman was required to discontinue visiting the Philadelphia offices, after

   the female employees including myself, Marnie Meyer-O’Brien (“Ms. O’Brien”), and

   Patricia McNulty (“Ms. McNulty) reported Greg Roman’s discrimination and harassment in

   the workplace.

9. The discrimination and harassment was ongoing, continuous and without respite and began

   as early as my job interview and continued until November 2018.

10. I also witnessed Greg Roman sexually harass my female coworkers.

11. Defendants have responded to my lawsuit claims of sexual harassment, retaliation, and

   hostile work environment by initiating a campaign of retaliation beginning November 2018.

12. The campaign of retaliation includes using the civil legal process to file three lawsuits against

   me.

13. Daniel Pipes has informed me in person during a meeting at 30th Street Train Station in

   Philadelphia, Pennsylvania that all of these lawsuits can end if I simply discontinues my

   sexual harassment suit in this Court.

14. During my employment Greg Roman constantly spoke to me about sex and used sexual

   innuendos

15. Greg Roman made comments suggesting sex and needing a release.

16. Greg Roman placed his hands on me during the AIPAC conference and forced her head

   toward his penis area.

17. Greg Roman sexually assaulted Patricia McNulty in front of me.

18. While violently forcing Patricia McNulty onto his lap, Greg Roman whispered sexual

   suggestions in her ear. This was difficult for me to hear, however, Patricia McNulty was

   scared and told me what he said after the incident.
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19. Greg Roman compelled me to share a residence with him in a foreign country by lying to me

   and promising that I would have my own living space and my own bathroom.

20. Greg Roman made unwelcome physical contact of a sexual nature with me on at least two

   occasions and always put his hands on my in a work environment.

21. Greg Roman subjected me to angry, violent, inappropriate sexual suggestions, yelling that he

   needed a blow job.

22. Greg Roman physically harassed me and co-workers in front of me.

23. Greg Roman leered at my breasts and butt all the time.

24. Greg Roman intentionally pitted me against other employees including Marnie Meyer who

   was the Director of Human Resources.

25. Greg Roman made it difficult for me to communicate with Marnie Meyer so we would not

   discuss shared experiences.

26. Greg Roman punished by yelling at and becoming angry any employees who suggested or

   attempted to communicate with Defendant Pipes directly.

27. Greg Roman threatened ongoing monitoring of devices and security cameras.

28. Greg Roman invited me to his home and stating his wife would not be present and that his

   kids would not be present. This occurred on many occasions throughout my employment

   and between October 2017 and November 2018.

29. I was informed that Greg Roman exposed his penis to female a reporter that I associated

   with. I made a recording of the reporter describing the incident.

30. Greg Roman informed me that he compelled a young intern named Leah Merville to engage

   in sexual intercourse with him and then graphically describing the sex acts to me. He said

   that she ride his cock and gave a great blowjob.
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31. I was informed by Greg Roman and Matthew Bennett that employees who reports sexual

   harassment or went up against Greg Roman were terminated.

32. I was informed that MEF would threaten litigation for employees who reported Greg Roman.

33. These are some of the highlights of the sexual harassment to which I was subjected by Greg

   Roman between October 2017 and November 2018.

34. Defendant Roman’s sexual harassment began during my job interview and continued until

   November 2018, after which point Roman used his position to subject me to retaliation.

35. Greg Roman started sex-based rumors about female employees who I worked with.

36. I suffered ongoing stress, trauma, psychological harm and difficulty with her work and work

   relationships due to the harassment such that I sought help from medical professionals.

37. From November 2018 through March 2019, Greg Roman did not have sex-based comments

   toward me, however, he complained about my work to Daniel Pipes and made false

   comments about me not performing my job duties.

38. After Greg Roman was permitted to return to full duties in March 2019, he began to use his

   power and position to retaliation against me further.

39. Greg Roman lied to Daniel Pipes about me and made false statements about my work from

   between March 2019 and my employment ending. I was admonished by Daniel Pipes due to

   false statements that Greg Roman made to Daniel Pipes during project directors calls.

40. Defendant Pipes clearly articulated his hands-off management policy and deferred almost

   complete authority to Defendant Roman to handle all management matters. Greg Roman

   yelled at, became angry and maintained a policy that prevented employees from reporting

   anything directly to Daniel Pipes.
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41. I spoke with Matthew Bennett about discrimination and harassment in the workplace

   involving Greg Roman. Both me and Patricia McNulty spoke to Matthew Bennett on more

   than one occasion. Matthew Bennett suggested that I could go to Daniel Pipes with the

   report. Matthew Bennett also informed me and Patricia McNulty about other female

   employees who had reported discrimination and harassment in the workplace. Matthew

   Bennett pointed that they were no longer employed but that Greg Roman was still the

   Director.

42. Mathew Bennett told me and Patricia McNulty about the following female employees who

   reported issues related to Greg Roman: (1) Tiffany Lee, (2) Laura Frank, and (3) Lara Scott,

   and (4) Iman Patel.

43. Matthew Bennett told me and Patricia McNulty that he had been asked to back up Roman

   and to discredit Tiffany Lee’s reports of sexual harassment.

44. Matthew Bennett suggested that I could tell Daniel Pipes, however, he did not want to tell

   Daniel Pipes himself. Matthew Bennett was also afraid to report issues against Greg Roman.

45. Matthew Bennett told me that Greg Roman did engage in a sexual relationship with Tiffany

   Lee. Mr. Bennett informed me that Roman and Ms. Lee had sex on the couch in her office

   and that Roman liked her breasts.

46. After Marnie O’Brien, Patricia McNulty and I reported discrimination and harassment in the

   workplace, Daniel Pipes scheduled a group meeting where he invited the entire Philadelphia

   office to attend and be part of the meeting. Stacy Roman and Greg Roman were invited

   however, Greg Roman did not attend because the day of the meeting Pipes instructed him to

   stay home.
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47. Due to the group meeting format, I was nervous and did not feel comfortable opening

   discussing private and personal issues related to sexual harassment. I particularly did not feel

   comfortable talking about graphic sexual comments by Greg Roman in front of Greg Roman

   little sister, Stacy Roman.

48. Greg Roman was brought back to his full position as Director of The Middle East Forum by

   March 2018.

49. When told about Greg Roman’s sexual harassment in November 2018, Daniel Pipes actually

   said, “I have seen priests who molest kids do worse and keep their jobs.”

50. Daniel Pipes informed us that he would not take any action to investigate or correct issues

   involving Greg Roman for anything related to pre-November 2018 conduct and comments.

51. I am aware through my employment with the Middle East Forum of at least nine (13) women

   who have lodged allegations of sexual harassment and/or sex and gender discrimination

   involving Greg Roman. They are (1) Laura Frank, (2) Lara Scott, (3) Tiffany Lee, (4) Marie

   O’Brien, (5) Patricia McNulty, (6) Leah Merville, (7) Alana Goodman, and myself (8) Lisa

   Barbounis, (9) Caitriona Brady, (10) Delaney Yonchek, (11) Samantha Mandeles, and (12)

   Iman Patel.

52. All the female employees have either informed me or I have heard that they were terrified of

   Greg Roman and MEF’s willingness to retaliate against victims of Greg Roman. The victims

   of Greg Roman are aware of his propensity to attack anyone who tried to report

   discrimination and harassment in the workplace.

53. Defendant, Roman made it clear that he was always watching and could access private

   information on personal phones and other devices. Patricia McNulty actually sent screen

   shots to her sister to safeguard, of text communications where I and Patricia McNulty
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   discussed Greg Roman’s sexual harassment. I and Patricia McNulty were afraid to even

   have private text messages discussing Greg Roman’s sexual harassment on our phones. We

   thought that Greg Roman could hack into our devices, access the conversations, and retaliate.

   Ms. McNulty and I were not paranoid. This fear was born for actual threats Roman made to

   the female staff. Roman performed threatening demonstrations to prove he could hack a

   personal device and access private information. Roman also used and referred surveillance

   he placed around the office and bragged about his access to their email accounts, instant

   messaging accounts and devices.

54. We were told about or witnessed several women who faced termination as a result of raising

   complaints against Defendant Roman. These women included (1) Tiffany Lee, (2) Laura

   Frank, (3) Lara Szott, and (4) Iman Patel.

55. I was subjected to an ongoing, continuous pattern of sexual harassment and sex and gender

   discrimination which began at my job interview and continued until November 2018, when

   Roman was temporarily removed from the Philadelphia offices.

56. During the temporary period while Roman was out of the office, I was not subjected to

   sexual harassment however, when Roman returned to full duties in March 2019, the

   retaliation, discrimination and harassment in the workplace resumed and got worse until I

   had to resign her position in August 2019.

57. The pervasiveness of Defendant, Greg Roman’s sexual harassment, to which I was subjected,

   reached its peak between August and November 2018.

58. The severe and pervasive sexual harassment during this time period led to the reports to

   Daniel Pipes in November 2018.

59. Roman’s sexual harassment began in October 2017, and continued to October 2018
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60. I was subjected to sex-based comments and sex-based physical contact, forcing me to watch

   when colleagues were harassed.

61. Greg Roman incessantly spoke about sex and my sex life.

62. Greg Roman constant made comments that any reasonable person would take as sexual

   suggestions including talking about how he liked sex, my sexual preferences.

63. Greg Roman put hands on me while in the office, leered at my chest and backside.

64. Greg Roman forced me to watch inappropriate videos and images and spoke about sex.

65. Greg Roman asked me to visit his home “when my wife won’t be here.”

66. Greg Roman constantly referred to me as his “work wife,” commented on women’s “big

   tits,” describing sex and sexual conquests.

67. Greg Roman and Matthew Bennet told me I was hired because of my looks and because I

   was hot.

68. Greg Roman spoke about women he had “fucked,” saying “I wish I could still fuck all those

   girls,” complaining that he was not sexually gratified, complaining that his wife could not

   sexual gratify him, saying that his wife was not “hot enough,” saying that he should be

   permitted to continue “fucking hot chicks,” talking about sex.

69. Greg Roman spoke about sex while forcing me to sit inappropriately close to him, creating

   scenarios to get me alone and then refusing to discuss work related issues, talking about

   another employee who gave a great blowjob.

70. Greg Roman ordered me to give him a release, invited me to his home late at night, called me

   late at night, asked questions about my sexual preferences, and generally tried to convince

   me to engage in a sexual relationship.
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71. Greg Roman’s conduct and comments continued past August 2018 and into September and

   October 2018.

72. I was never provided with the role Director of Communication in substance or

   meaningfulness. Daniel Pipes informed me that I could hold myself out to the outside world

   with that title but he was very clear that I was not the Director of Human Resources.

73. I never stopped acting as a personal assistant and scheduling calendars and doing grunt work

   like research or go-for work.

74. Daniel Pipes and Greg Roman control all aspects of operation and management of The

   Middle East Forum. Daniel Pipes is the number 1 and Greg Roman is the number 2.

75. During my employment with MEF I worked with Matthew Bennett who was the Director of

   Development and the number 3 management level employee at MEF. Matthew Bennett and

   Greg Roman are also close friends who continued communicating after Bennett resigned his

   position from MEF and helped Greg Roman return to Director.

76. When Greg Roman stopped visiting the Philadelphia offices in November 2018, Mathew

   Bennett took over his day-to-day management of the Philadelphia offices.

77. I know Patricia McNulty from working at MEF. Since my employment with MEF ended, I

   have moved to Washington D.C., where I work for Congressman Randy Weber. I believe

   that Patricia McNulty works in New York.

78. I met Tommy Robinson when I was assigned by Greg Roman to assist Greg Roman with a

   grant that MEF provided to fund a “free Tommy Robinson” rally. I first met Tommy

   Robinson in person in October 2018. I have never worked for compensation for Tommy

   Robinson. I did volunteer to assist with him when he ran for parliament in the UK.
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79. I met Daniel Thomas because MEF provided Daniel Thomas with a grant for a “free Tommy

   Robinson” rally. Prior to MEF providing that grant, I had never met Daniel Thomas before.

80. Daniel Thomas helped Tommy Robinson but in my experience he was only in charge of the

   one rally that occurred sometime around June 2018.

81. Jazmin Bishop is the biological mother of Daniel Thomas’s child, however, I am not aware

   of any ongoing relationship between them today.

82. MEF has used the civil litigation system as well as press to subject me to retaliation which

   began only after I filed my lawsuit against MEF in this Court.

83. I was informed by an individual named Jon, who said that Greg Roman had spoken to him

   about me and my lawsuit, that MEF has paid almost two million dollars in legal fees in the

   cases that MEF has filed against me and my case.

84. I was notified that MEF has a litigation war chest to fund the cases that were filed against me

   and my case.

85. Daniel Pipes sent me an email ton December 3, 2020 asking to meet at 30th Street Train

   Station in Philadelphia, Pennsylvania. Daniel Pipes told me to come without counsel, and to

   turn off my phone.

86. Daniel Pipes explained his and MEF’s unlawful retaliatory strategy that Daniel Pipes, Greg

   Roman, and MEF were employing in response to my sexual harassment, sexual assault, and

   sex and gender discrimination.

87. Daniel Pipes informed me that he knows I am a good person and said that he thinks I have

   been taken advantage of by my lawyers.

88. Daniel Pipes tried to extort me and threatened to file additional claims against me unless I

   withdraw my case from the Eastern District of Pennsylvania.
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89. Daniel Pipes told me that unless I withdrew my case, he would file more cases against me

   including a RICO lawsuit.

90. Daniel Pipes’ said I have to withdraw my case with prejudice and then he would make all the

   cases against me go away.

91. Daniel Pipes continued to threaten and pressure me stating that “we have the same

   problem… your attorney.”

92. Daniel Pipes told me I should fire my lawyers and he would help me with the cost of a

   bankruptcy lawyer and a credit counseling service to assist with the legal bills that I would

   owe.

93. Defendant, Pipes emailed me a proposed settlement agreement memorializing the above.

94. I did not agree to the unconscionable terms offered by Defendant, Pipes and on January 22,

   2021, MEF filed yet another retaliatory lawsuit against me, alleging violations of the RICO

   statutes.

95. This RICO lawsuit failed to advance new factual averments not part of the other two lawsuits

   that MEF had already filed.

96. Greg Roman contacted an individual with whom I had previously been romantically

   involved: Daniel Thomas.

97. I heard a voice message recording left by Daniel Thomas where Greg Roman promised to

   provide to trade something to Daniel Thomas in exchange for Daniel Thomas lying about

   me. testimony and defamatory statements against Lisa Barbounis.

98. During a deposition of in the matter of MEF v. Lisa Barbounis, Defendants created an

   evidence mashup where they took different recordings of me and put them all together into a

   single recording and then played them for my husband.
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99. The recordings were of different times and different conversations but they all were part of

   one large single recording that they must have used editing software to create.

100.   There are text conversations in my phone between me and someone who works with

   MEF named Jonathan.

101.   Jonathan contacted me and told me that Greg Roman had told him that he read the text

   conversations.

102.   Jonathan said that Roman had asked him about the text messages after reading them.

103.   These messages were on my device and must have been produced through the e-

   discovery order in this case.

104.   Apparently Roman knew about the text messages.

105.   Roman approached Jonathan to discuss the case.

106.   Jonathan then approached me and tried to broker a sit down between me and Greg

   Roman. Jonathan informed me that Roman suggested I file a “malpractice claim” against my

   attorneys.

107.   Jonathan also said The Middle East Forum had spent $1.7 million dollars in legal fees to

   date.

108.   During my employment with MEF, Greg Roman often made comments aimed to scaring

   the female staff by suggesting that there was danger or risk associated with working at MEF.

   During my employment I have not seen a single incident where anyone was threatened or

   where there appeared to be a risk to the safety of anyone who worked at MEF, other than

   from MEF’s Director and the employees who helped him avoid responsibility.

109.   While there was some travel associated with my employment with MEF, it was not

   frequent for all employees and it was not a condition of employment.
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110.   Greg Roman treated the female employees differently than male employees and treated

   females different than males. Greg Roman did not employ equal treatment of MEF staff.

   Greg Roman was hostile, violent, inappropriate toward the female staff. The women who

   worked with Greg Roman felt like this including me.

111.   Greg Roman did not demand the same commitment from staff as he demanded from

   himself. Greg Roman treated himself far different than staff. He used his position and

   decision-making authority to approve expenditures so that MEF donations covered costs for

   his travel, food, lodgings, and other expenses. Greg Roman demanded the female staff obey

   him in all things and became violent and threw things, screamed, yelled, cursed, and created

   tension and hostility when he felt he was not being obeyed in all things.

112.   Pipes had little to no involvement in my employment until November 2018, when Roman

   was temporarily removed from working at the Philadelphia offices.

113.   Prior to that Roman held ultimate and direct supervisory authority of all MEF female

   employees including me.

114.   Roman was a strict, aggressive, and sometime violent manager and maintained a policy

   to prevent female employees from communicating in any way with Daniel Pipes.

115.   Roman enforced a policy whereby female employees were not permitted to communicate

   directly with Defendant, Pipes.

116.   Roman did not allow female employees to speak or bring issues directly to Defendant,

   Pipes without Roman’s express approval and involvement, and he never provided said

   approval. All issues flowed through Roman’s office.
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117.   Defendant, Pipes maintained a closed-door policy, even after the November 2018 staff

   meeting, where at least three female employees including the Director of Human Resources,

   Marnie Meyer, all reported sexual harassment involving Defendant, Greg Roman.

118.   After the November 2018 staff meeting, Defendant, Daniel Pipes did not welcome and

   assist female employees with new reports of harassment involving Defendant, Greg Roman.

119.   Defendant, Pipes’ claim that Defendant, Roman was on a strict probation was false and

   misleading to the female staff because there were multiple reports of inappropriate conduct

   and reports of retaliation and Pipes refused to even consider any of the reports.

120.   Defendant, Pipes refused to take any action in accordance with MEF’s employee

   handbook and the written policy governing sexual harassment in the workplace and

   encouraged retaliation by forcing any victim of Greg Roman to deal directly with Greg

   Roman.

121.   Defendant, Pipes refused to schedule meetings to discuss any new reports involving

   Defendant, Roman and said that he would do nothing about any report for conduct that may

   have predated November 2018.

122.   Daniel Pipes did not meet with me and make me feel welcome when my employment

   began October 2017. He made me feel like I was unwelcomed by telling me that he did not

   think I should have been hired because “I never needed an assistant and I do not understand

   why Greg needs an assistant.” He did not tell me his door was always open.

123.   Patricia McNulty, Matthew Bennett, Greg Roman, Marnie O’Brien, and myself traveled

   to Washington D.C., the weekend of the AIPAC conference, to attend events that were held

   conference weekend. The only reason we all traveled to D.C., that weekend was due to the
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   AIPAC conference and events that surrounded the same. For example, MEF hosted a dinner

   at the Cuba Libra restaurant and we all attended the dinner and used it as a networking event.

124.   After we hosted the dinner we visited other events that were also held during the AIPAC

   conference weekend.

125.   At the end of the evening, around the time when bars and restaurants close, I wanted to

   stay and talk to people and then travel back to my hotel room.

126.   Greg Roman became aggrieve and yelled at us to “get in the car.”

127.   We then traveled back to the Airbnb that Roman and Bennett had booked.

128.   We remained at the Airbnb until about 8:00 A.M. So we were there for about five hours.

129.   Roman had planned for the female employees, Patricia McNulty, Marnie O’Brien, and

   myself to stay at the Airbnb with him and Bennett. When Pipes learned he required the

   female employees to book their own hotel rooms to Roman’s disappointment.

130.   In my experience, both from working at MEF in general and from working directly with

   Greg Roman and being subject to his sexual advances and suggestions, Roman has an MO,

   where he uses his position and authority to assign and direct work activities to create

   situations where he is alone with a female employee.

131.   Greg Roman used Marijuana at the Airbnb and offered Marijuana and drinks to the

   female employees he had compelled t return to his room. There was no networking event or

   any planned event. Roman did not allow the female employees and specifically me to stay

   behind and return to my room. He ordered me to “get in the car.”

132.   After returning to the Airbnb, Roman created a tense and uncomfortable atmosphere

   when he suddenly began ordering the male visitors to leave.
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133.   Greg Roman sat between Patricia McNulty and myself and put his arm around me and

   pulled me into him. My head was being pulled toward him.

134.   He put his hand under Patricia McNulty and pulled her so hard she ended up on top of

   him.

135.   He then began whispering in Patricia McNulty’s ear.

136.   I tried to make it clear to Greg Roman that his sexual advances and sex-based conduct

   and comments were not welcome. I did this physically when I would jerk away from him

   when he touched me. I did this with words when I would tell him to “stop being gross” or

   “stop being weird” or say, “that’s not appropriate.” I did this throughout my employment.

137.   Matthew Bennett was not asked to travel to Israel with Greg Roman in March – April

   2018. Greg Roman asked Marnie O’Brien to travel with him. Marnie O’Brien refused to go

   because Greg Roman would not allow her to stay in her own hotel room.

138.   Greg Roman then asked me to go. I said I would go and stay in the same room as long as

   I could have my own living area with a bathroom.

139.   When we got to Israel, it was clear that Roman knew that there was only one bathroom.

   He apologized to me about it as soon as we arrived at the room.

140.   I was in communication with Matthew Bennett at the time and Greg Roman did not ask

   Bennett to go on the trip.

141.   Greg Roman also conditioned the trip to Israel by telling me I could not tell anyone I was

   going and specifically Daniel Pipes or Greg Roman’s wife. Roman made me hide when his

   wife called.

142.   Greg Roman did not allow me to leave the room on my own until after I made it clear I

   would not engage in sexual acts including oral sex with him, which occurred in the final days
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   of the trip. After that Greg Roman was no longer interested in me staying around him and

   told me to go walk around on my own. I was relieved to have the time to be on my own.

143.   While on the Israel trip Greg Roman became very angry. He said that he had

   propositioned a young female who was a former MEF intern for sex and she rejected his

   suggestions. He started yelling at me about needing a blow job. He also began a

   conversation with me about sex and needing sex and that he deserved sex. It was very scary.

   I contacted my husband and my coworker Patricia and told them both that Greg Roman was

   being inappropriate. Patricia McNulty asked if he was being “AIPAC couchish…” I slept

   with a knife under my pillow that night. I did not know what to do. I did not know if I

   should leave the room, fly home, go to the police. Because we were in the final nights of the

   trip I stayed in my room that night and I just flew home ASAP.

144.   Greg Roman informed me during the trip to Israel that he “fucked” Leah Merville. He

   graphically described the sexual encounter saying that she “rode him” and that “her body was

   incredible” and that she “gave a great blowjob.”

145.   Roman explained that he had sex with Leah Merville in a hotel room when he had to sign

   paperwork for her.

146.   Greg Roman yelled about needing a blowjob and needing a release.

147.   Roman said that he deserved to have sex with hot chicks and that his wife could not

   sexually gratify him.

148.   I did not see any of the following people after the night when Greg Roman scared me by

   yelling at me about sex and needing oral sex: Ashley Perry, Gilad Ach, and Matan Peleg.

149.   I do not believe that I met Ashley Perry, Gilad Ach, and Matan Peleg during the trip to

   Israel. If we did meet it was not in the final two days of the trip.
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150.   When Greg Roman yelled at me about needing a blow job, I told him to stop and I went

   to bed extremely scared. He was drunk, angry, and violent.

151.   I never helped organize harassment training during my employment with MEF. I

   certainly do not recall attending harassment training.

152.   After the trip to Israel Greg Roman continued to subject me to inappropriate conduct and

   comments. Roman also became hostile toward me and I noted that Roman began to pit me

   against Marnie Meyer, the Director of Human Resources.

153.   I tried to work things out with Greg Roman who had started to complaint about me to

   Marnie Meyer as part of the campaign of retaliation. So I sent Greg Roman a text message

   and invited him to talk directly to me if he had any problems with me. Greg Roman

   continued to subject me to retaliation and the hostile work environment escalated.

154.   Greg Roman was dishonest with Marnie Meyer by informing Marnie Meyer about issues

   that Greg Roman never once brought up with me. For example, Greg Roman never accused

   me of failing to respond to donors. This was part of the way that Greg Roman drove a wedge

   between me and the Director of Human Resources.

155.   In October 2018, I sat down with Marnie Meyer to discuss with her the issues and discord

   that had grown between us. When we openly explained our positions to one-another, it

   became apparent that Greg Roman was inciting discord intentionally.

156.   Greg Roman told me to write up Marnie Meyer and then told on me to Marnie Meyer

   when I followed his instructions. This was one of the ways that Greg Roman drove a wedge

   between me and Marnie Meyer.
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157.   Marnie Meyer handwrote the letter to Daniel Pipes because she was scared that Greg

   Roman would use his knowledge of electronic devices to intercept the letter and retaliate

   against both of us.

158.   I have never considered moving to London. I have never confided in Daniel Thomas

   about issues related to my work at MEF by telling him that I had a plan to move to London.

159.   My entire life is in the United States including my family and children. The idea of me

   moving to Europe is ludicrous and I never considered moving there.

160.   It never felt like Daniel Pipes took out reports of sexual harassment seriously. He told us

   that priests who molest children have done worse and kept their position in the church. He

   also was angry at the victims for “surprising” him.

161.   The way that Daniel Pipes responded to the reports of sexual harassment felt derivative.

   He completed what he called “the investigation” in only one day. He was cold and seemed

   much angrier at the women than at Greg Roman.

162.   The way he responded to the reports operated to silence and minimize the reports. Daniel

   Pipes clearly wanted to get the entire incident behind everyone and favored expediency over

   thoroughness. He organized a staff meeting where he expected the women who were

   sexually touched and harassed for years to talk about it all in front of the entire office.

163.   Daniel Pipes invited Greg Roman and Stacy Roman to the meeting on November 5, 2018.

   Greg Roman did not attend but Stacy Roman was present and she is Greg Roman’s little

   sister.

164.   It was very difficult to talk about personal issues related to sexual harassment in front of

   the harasser’s little sister.
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165.   Stacy Roman was visibly angry during the meeting and defended her brother. She said

   that it was possibly our faults for wearing short skirts.

166.   I was scared to attend the meeting because I was told Greg Roman would be present. We

   did not learn that he was disinvited until the day of the meeting. Greg Roman was scheduled

   to attend until the female employees voiced their fear of talking about Greg Roman with him

   sitting right there.

167.   One of the primary issues discussed at the meeting was Greg Roman’s sexual harassment

   in the workplace. It was very difficult for anyone to get into detail because we did not want

   to talk about the details of Greg Roman’s sexual misconduct in front of his little sister. But

   we certainly discussed sexual harassment during the meeting.

168.   Even between November 2018 and March 2019, it was obvious that Greg Roman still

   had a significant role with MEF. We still had to respond to his demands and he was still

   running MEF behind the scenes.

169.   I still had to communicated with Roman almost every day between November 2018 and

   March 2019. This was one of the reasons that I agreed to Matthew Bennett’s suggestion that

   I go to Daniel Pipes and notify Pipes that Greg Roman could return on probation as Director

   of MEF. I was already communicating with him every day. So I thought that if it will help

   MEF, it won’t really make a difference to me.

170.   During this time period, Roman was clearly angry at the female individuals who had

   reported his sexual harassment in the workplace. And while he was clearly still angry, the

   sex-based comments stopped. After November 2018, I was subjected to retaliation, and

   discrimination because of my gender, however, I was no longer subjected to daily

   inappropriate sexual harassment and discussions about sex.
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171.   Matthew Bennett approached me and suggested that MEF would do a lot better if Greg

   Roman could return as Director of MEF in all aspects. Matthew Bennett assured me that he

   spoke to Greg Roman and he had learned his lesson. Matthew Bennett said this is what is

   best for MEF. Matthew Bennett also suggested that they idea should come from me as it

   would carry more weight if I brought the idea to Daniel Pipes.

172.   At the time, Matthew Bennett and Greg Roman were in contact with one-another and

   they both agreed that I should bring the idea to Daniel Pipes.

173.   MEF not doing as well and so I put my own self-preservation and self interest second and

   MEF first. I told Daniel Pipes that if Greg Roman stayed on probationary status and if some

   of the restrictions remained in effect, I could agree to Greg Roman becoming Director of

   MEF again.

174.   Marnie Meyer never agreed to Greg Roman’s return and said it was a bad idea.

175.   Patricia McNulty was scared to have Greg Roman return, however, she acquiesced under

   strict conditions that Greg Roman was on probationary status and if he did anything adverse

   to the female staff, he would be ejected again permanently.

176.   The probationary status was a sham and once back, Daniel Pipes refused to even consider

   a report of harassment or retaliation involving Greg Roman.

177.   By spring 2019, it became apparent that I had no future with MEF. Greg Roman

   constantly provided false information to Daniel Pipes about my work and Daniel Pipes

   admonished me. I was partly performing the responsibilities of a employee in

   communications but because of my reports of discrimination and harassment in the

   workplace, Daniel Pipes refused to provide me with a promotion. My colleagues who

   reported discrimination were in similar positions. Patricia McNulty was promised a position
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   a Director of Development, however, Greg Roman withdrew the opportunity upon his return

   in 2019.

178.   Greg Roman referred to the women who reported discrimination as “usurpers.”

179.   Greg Roman made comments that usurpers will be delt with.

180.   There was also new allegations of sexually inappropriate comments that Greg Roman

   made about Manie Meyer and Caitriona Brady’s father. Caitriona Brady was an intern who

   was offered employment after her internship. Caitriona Brady and Delaney Yonchek worked

   under Patricia McNulty and myself. Greg Roman made comments that Caitriona Brady got

   her job because Marnie Meyer was engaged in a sexual relationship with her father.

181.   Matthew Bennett and Greg Roman tried to guess the name of the MEF female employee

   who was involved in the new allegations. They guessed that it was Gabrielle Bloom.

182.   I never had any influence on money or grants. This was way above my pay grade.

   Daniel Pipes and Greg Roman alone made these decisions. All work I performed with

   Tommy Robinson was at the instruction of MEF, Greg Roman, and/or Daniel Pipes.

183.   In reviewing the exhibits attached to Defendants’ fact statement it appears that I did not

   email the grant contract. I testified at deposition that I did not review it or read it. I did not

   email it either.

184.   I had absolutely no supervisor role in connection with either the rally or the use of Forum

   funds. I certainly was not sent to report on the use of MEF funds.

185.   There is not a single email or text message where I and any other individual spoke about

   me overseeing the rally or use of Forum funds. I used her own time and funds to finance the

   trip. MEF contributed only $300.00 for my flight because I said I would attend the rally

   while there. I paid for everything else and used my personal time.
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186.   I did not know Daniel Thomas in June 2018 and the first time I met him was at the rally

   where we briefly said hello. We spent no time together during my trip to England in June

   2018.

187.   In October 2018, I was instructed as part of my job responsibilities to attend an event in

   the UK held for Tommy Robinson. I traveled to the UK strictly on MEF business.

188.   I am not aware of MEF proving any money toward the October 2018 event. I am not

   swearing that it did not happen. If it did, I had no involvement.

189.   I was not involved in any way in any money being granted to, or donated to Tommy

   Robinson after the free Tommy Robinson in June 2018. The only grant that I am aware of is

   the grant in June 2018.

190.   I believe and therefore swear that MEF stopped all donations or assistance involving

   Tommy Robinson at some point before 2019.

191.   When Daniel Thomas’s father contacted me, I informed him that MEF could not help

   Daniel Thomas. I tried to be nice to the man, however, I explained that MEF does not do

   what Daniel Thomas’s father was asking. MEF has never sent money to Daniel Thomas,

   other than the grant in June 2018 that Greg Roman and Marnie Meyer oversaw.

192.   I did not author a proposal for Tommy Robinson. I was asked to look at it, which is what

   I was trained by Greg Roman to do. Greg Roman constantly helped people with proposals

   and information. There is nothing improper about review a proposal before it is sent to

   Daniel Pipes of Greg Roman for a decision.

193.   I was asked by Janice Atkinson to speak at the European Parliament. I discussed in

   detail my involvement and speech topics. I noticed MEF about my travel plans and went on

   my personal time and expense. This was an approved and scheduled trip.
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   194.       I was not involved in the Hopkins proposal outside of normal job responsibilities.

       Plaintiff discussed the Hopkins proposal with Daniel Pipes many times. MEF did not

       fund the proposal.

195.   Daniel Thomas was referring to money that I lent him to buy a jacket. Daniel Thomas

   was not referring to money that MEF granted him. I was embarrassed to take Daniel Thomas

   to an event because he was underdressed. I loaned Daniel Thomas money to buy clothes and

   a jacket and Daniel Thomas agreed to pay the loan back.

196.   Also, Daniel Thomas asked me to buy an airline ticket and promised to pay me back.

   This is the money that Daniel Thomas referred to when he said he would pay me back.

197.   I did not believe Jazmin Bishop when she lied about Daniel Thomas. I had already

   suspected that Daniel Thomas did not adequately account for all the money granted which is

   why I sent Greg Roman an email and explained that MEF should not do business with Daniel

   Thomas ever again.

198.   There was no reason to believe that Jazmin Bishop’s accusations were credible. I

   attempted to validate the accusations and was unable to confirm that anything Jazmin Bishop

   said was true.

199.   To this day I have no direct knowledge of any money that was taken by Daniel Thomas.

   I do not know if he stole kept money for himself in manner that would violate the agreement

   between MEF and Daniel Thomas.

200.   The Bring Your Own Device Agreement provided that employees were permitted to keep

   the computers as their personal devices. Because MEF had permitted Matthew Bennett to

   keep his laptop, without paying the balance, I thought the same would be done for female

   employees. I was wrong. My personal information including user names and passcodes was
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   stored in the computer. I did not save information on the hard drive. The computer was used

   to access cloud-based systems. There was no discoverable information on the computer.



201.   I swear under penalty of perjury that the foregoing is accurate, true and correct.




                                 Lisa Barbounis
   Signature of Declarant: ___________________________________________


   Name of Declarant: ______________________________________________


             April 17
   Date: ____________________, 2021
